Case 2:04-Cr-20300-BBD Document 39 Filed 07/12/05 Page 1 of 2 "' Page|D 48

IN THE UNITED sTATEs DIsTRICT CoURT mm ev \l&..j_. o.c.
FoR THE wEsTERN DISTRICT oF TENNESSEE
Weste"l 05 JUL I2 PH 52 38
UNITED sTATEs oF AMERICA, wmng
Plaimiff, wm G§ i" "tWS
vs. Case No. 2:04cr20300-Ma

George Edward Gamble, III

 

ORDER REFUNDING CASH APPEARANCE BOND

 

This matter comes before the Court on a motion for refund of the cash appearance bond.
It now appears that the defendant has complied with the requirements of said bond and orders of
this Court.

IT IS THEREFORE ORDERED that the appearance bond for this defendant be canceled
and discharged; and the Clerk is directed to issue a check on the Registry in the sum of $1,000.00,

payable to George Gamble at 4005 Aubum Lane, Nashville, TN 37215 in full refund of the cash

M//VM\

United States District Judge
Samuel H. Mays, Jr.

appearance bond posted herein.

 

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Date: jun w " he

 

Approved.

 

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Th\s dochent entered on the docket sheet |n com \
with Bt\|e 55 andlor 321b\ FHCrP on _j___(i_&S-

 

Notice of Distribution

This notice confirms a copy of the document docketed as number 39 in
case 2:04-CR-20300 Was distributed by faX, rnail, or direct printing on
July ]5, 2005 to the parties listed.

 

 

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Honorable Samuel Mays
US DISTRICT COURT

